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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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     _______________________________________
 7                                          )
     NORTHWEST SHEET METAL WORKERS )
 8   ORGANIZATIONAL TRUST, et al.,          )
                                            )                Case No. MC20-0079RSL
 9                         Plaintiffs,      )
                v.                          )
10                                          )                ORDER TO ISSUE
     MIKE MATTILA,                          )                WRIT OF GARNISHMENT
11                                          )
                           Defendant,       )
12              v.                          )
                                            )
13   MM COMFORT SYSTEMS,                    )
                                            )
14                         Garnishee.       )
     _______________________________________)
15
16          This matter comes before the Court on plaintiff’s “Applicant Affidavit for Writ of
17   Garnishment” for property in which the defendant/judgment debtor, Mike Mattila, has a
18   substantial nonexempt interest and which may be in the possession, custody, or control of the
19   garnishee, MM Comfort Systems. The Court having reviewed the record in this matter, it is
20   hereby ORDERED that the Clerk of Court shall issue the Writ of Garnishment submitted by
21   plaintiff’s counsel on September 17, 2020, at Dkt. # 1-3.
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23          Dated this 22nd day of September, 2020.
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                                               Robert S. Lasnik
26                                             United States District Judge

     ORDER TO ISSUE
     WRIT OF GARNISHMENT
